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                     IN THE UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

In Re:
DELMER PARRISH                                      Case No. 9:17-bk-05744-FMD


                  Debtor
____________________________________/

                              TRUSTEE’S REPORT OF SALE

       The undersigned Trustee of the estate of the above-named Debtor reports as follows:

       1.      On December 26, 2017, the Trustee filed a Motion to Approve Stipulation on
Repurchase of Assets, which allowed the Debtor to repurchase his non-exempt assets (household
goods, office equipment, clothing, pet, cash, bank accounts) for $4,590.29. Additionally, Debtor
surrendered tax refunds in the amount of $10,698.92.

        2.     On January 25, 2018, the Court entered an Order Granting Motion to Approve
Stipulation on Repurchase of Assets.

       3.     The Trustee has received all funds owed to the estate from the Debtor.

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically to the Assistant U.S. Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602
this 19th day of February 2019.

                                            /s/ Robert E. Tardif Jr.
                                            Robert E. Tardif Jr., Trustee
                                            Post Office Box 2140
                                            Fort Myers, FL 33902
                                            (239) 362-2755
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